Case 6:11-cv-00392-LED-JDL Document 40 Filed 06/11/12 Page 1 of 1 PageID #: 399



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 REMOTE VEHICLES TECHNOLOGIES,                            Civil Action No. 6:11-cv-00392-LED
 LLC,

    Plaintiff,

    v.

 HYUNDAI MOTOR AMERICA, INC.,

    Defendants.


                  ORDER GRANTING JOINT MOTION FOR DISMISSAL WITH
                                   PREJUDICE
         CAME ON THIS DAY for consideration of the Joint Motion for Dismissal With

 Prejudice of all claims and counterclaims asserted between plaintiff, Remote Vehicle

 Technologies, LLC, and defendant Hyundai Motor America, Inc., in this case, and the Court

 being of the opinion that said motion should be GRANTED, it is hereby

         ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in

 this suit between plaintiff, Remote Vehicle Technologies, LLC, and defendant Hyundai Motor

 America, Inc., are hereby dismissed with prejudice, subject to the terms of that certain agreement

 entitled “SETTLEMENT AGREEMENT” and dated May 25, 2012.

         It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

 incurred them.

                 So ORDERED and SIGNED this 11th day of June, 2012.




                                    __________________________________
                                    LEONARD DAVIS
                                    UNITED STATES DISTRICT JUDGE
